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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                  8:06CR61
       vs.                                   )
                                             )               TRIAL ORDER
ARMANDO RODRIGUEZ,                           )
                                             )
                     Defendant.              )

      By order entered April 24, 2006, trial of this matter was set for June 6, 2006. On or
about June 1, the court was advised that defendant Armando Rodriguez intended to
change his plea. In response to the court's inquiry, defense counsel advised the court on
June 13 that he is not ready to set a plea hearing because the defendant lives out of town,
the defendant does not speak English, and counsel will not be able to meet with the
defendant until Friday, June 16, 2006.

       IT IS ORDERED:

       1. The above-entitled case is scheduled for a jury trial before the Honorable Laurie
Smith Camp, District Court Judge, to begin Tuesday, June 27, 2006 at 9:00 a.m. in
Courtroom No. 2, Third Floor, Roman L. Hruska United States Courthouse, 111 South 18th
Plaza, Omaha, Nebraska; because this is a criminal case, defendant(s) must be present
in person. Counsel will receive more specific information regarding the order of trial from
Judge Smith Camp’s staff.

       2. Any motions for a continuance of this trial date shall be electronically filed
forthwith and shall (a) set forth the reasons why the moving party believes that the
additional time should be allowed and (b) justify the additional time, citing specific
references to the appropriate section(s) of the Speedy Trial Act, 18 U.S.C. § 3161 et
seq. Any defense motion for continuance shall be accompanied by a written affidavit
signed by the defendant in accordance with NECrimR 12.1.

      3. Counsel for the United States shall confer with defense counsel and, no later
than June 20, 2006, advise the court of the anticipated length of trial.

       DATED June 13, 2006.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
